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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     NEWNAN DIVISION

IN RE:                                              )
                                                    )
MICHELE LEE MCDOUGAL                                )        CHAPTER 13
                                                    )
                                                    )        CASE NO.: 18-11197-WHD
         DEBTOR.                                    )

                                       MOTION TO DISMISS

         Melissa J. Davey, Trustee in the above styled matter, respectfully shows the Court as follows:

        1.     Pursuant to Debtor Chapter 13 Plan confirmed on November 20, 2018, Debtor is
required to make payments in the amount of $620.00 to the Trustee.

        2.      Debtor has failed to make the payments due under the Plan. The total amount due
under the Plan is $15,160.00. Debtor has only paid a total of $12,362.00, resulting in a delinquency in
the amount of $2,798.00 in violation of 11 U.S.C. §§1307(c)(1) and 1307(c)(6).

       3.      Debtor's Plan will exceed 60 months in violation of 11 U.S.C. §§1307(c)(1) and
1307(c)(6); see also 11 U.S.C. §1322(d).

         4.      In addition, Debtor has failed to remit the 2018 and 2019 income tax returns, or any
resulting refund to the Trustee. Accordingly, Debtor is in material default of the terms of the confirmed
Plan and has caused unreasonable delay that is prejudicial to the creditors. The case should be
dismissed. 11 U.S.C. §§1307(c)(1) and 1307(c)(6).

      Wherefore, Trustee respectfully requests that this case be dismissed pursuant to 11 U.S.C.
§1307(c).
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Dated: July 29, 2020                        Prepared and Presented by:

                                            /s/
                                            Jason L. Rogers
                                            Attorney for Chapter 13 Trustee
                                            GA Bar No. 142575
                                            260 Peachtree Street, NW, Suite 200
                                            Atlanta, GA 30303
                                            (678) 510-1444 Phone
                                            (678) 510-1450 Fax
                                            mail@13trusteeatlanta.com
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    NEWNAN DIVISION

IN RE:                                              )
                                                    )
MICHELE LEE MCDOUGAL                                )       CHAPTER 13
                                                    )
                                                    )       CASE NO.: 18-11197-WHD
         DEBTOR.                                    )

                     NOTICE OF HEARING ON MOTION TO DISMISS

           PLEASE TAKE NOTICE that Melissa J. Davey, Standing Chapter 13 Trustee, has filed
a Motion to Dismiss and related papers with the Court.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion to
Dismiss in at the U.S Courthouse, 2nd Floor Courtroom, 18 Greenville Street, Newnan, GA
30263 at 9:15 AM on September 10, 2020. Given the current public health crisis, hearings
may be telephonic only. Please check the "Important Information Regarding Court
Operations During COVID-19 Outbreak" tab at the top of the GANB Website prior to the
hearing for instructions on whether to appear in person or by phone .

         Your rights may be affected by the Court's ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you
do not have an attorney, you may wish to consult one.) If you do not want to Court to grant the relief
sought in these pleadings or if you want the Court to consider your views, then you and/or your attorney
must attend the hearing. You may also file a written response to the pleading with the Clerk at the
address stated below, but you are not required to do so. If you file a written response, you must attach
a certificate stating when, how, and on whom (including addresses) you served the response. Mail or
deliver your response so that it is received by the Clerk at least two business days before the hearing.
The address of the Clerk's Office is 18 Greenville Street, 2nd Floor, Newnan, GA 30263. You
may also mail a copy of your response to the undersigned at the address stated below.
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                                            /s/
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    NEWNAN DIVISION

IN RE:                                              )
                                                    )
MICHELE LEE MCDOUGAL                                )        CHAPTER 13
                                                    )
                                                    )        CASE NO.: 18-11197-WHD
         DEBTOR.                                    )

                                   CERTIFICATE OF SERVICE

         This is to certify that I have on this day electronically filed the foregoing Motion to Dismiss
together with the Notice of Hearing on the Motion to Dismiss using the Bankruptcy Court’s Electronic
Case Filing program, which sends a notice of this document and an accompanying link to this document
to the following parties who have appeared in this case under the Bankruptcy Court’s Electronic Case
Filing program:

Howard P. Slomka HS@ATL.law,
myecfcalendar@gmail.com;myatllaw@gmail.com;info@myatllaw.com;notices@nextchapterbk.com;Slo
mkaTR74878@notify.bestcase.com;eisenlawfirm@gmail.com

        I further certify that on this day I caused a copy of this document to be served via United States
First Class Mail with adequate postage prepaid on the following parties set forth below at the address
shown for each.

DEBTOR(S):

Michele Lee McDougal
1804 Crossing Place
Griffin, GA 30223
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                                            /s/
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